                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR07-1014-LRR
 vs.
                                                                 ORDER
 LINDA SUE KOOPMAN,
               Defendant.
                            ____________________________

       This matter is before the court pursuant to the defendant’s motion to reduce sentence
under 18 U.S.C. § 3582(c)(2) (docket no. 126). The defendant filed such motion on July
13, 2009. In her motion, the defendant contends a reduction is warranted in light of the
amendment to the criminal history guidelines.
       In relevant part, 18 U.S.C. § 3582(c) provides:
              The court may not modify a term of imprisonment once it has
              been imposed except that . . . in the case of a defendant who
              has been sentenced to a term of imprisonment based on a
              sentencing range that has subsequently been lowered by the
              Sentencing Commission pursuant to 28 U.S.C. [§] 994(o),
              upon motion of the defendant or the Director of the Bureau of
              Prisons, or on its own motion, the court may reduce the term
              of imprisonment, after considering the factors set forth in [18
              U.S.C. §] 3553(a) to the extent that they are applicable, if such
              a reduction is consistent with applicable policy statements
              issued by the Sentencing Commission.
18 U.S.C. § 3582(c)(2); see also United States v. Auman, 8 F.3d 1268, 1271 (8th Cir.
1993) (“Section 3582(c)(2) is a provision that permits a district court to reduce a term of
imprisonment if the sentencing range upon which the term was based is subsequently
lowered by the Sentencing Commission.”). Additionally, USSG §1B1.10 states:
              In a case in which a defendant is serving a term of
              imprisonment, and the guideline range applicable to that
              defendant has subsequently been lowered as a result of an


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             amendment to the Guidelines Manual listed in subsection (c)
             below, the court may reduce the defendant’s term of
             imprisonment as provided by 18 U.S.C. § 3582(c)(2). As
             required by 18 U.S.C. § 3582(c)(2), any such reduction in the
             defendant’s term of imprisonment shall be consistent with this
             policy statement.
USSG §1B1.10(a)(1); see also USSG §1B1.10, comment. (n.1) (“Eligibility for
consideration under 18 U.S.C. § 3582(c)(2) is triggered only by an amendment listed in
subsection (c) that lowers the applicable guideline range.”).
      The court sentenced the defendant on April 22, 2008 and Amendment 709, which
amends USSG §4A1.1, USSG §4A1.2 and the corresponding commentary to both sections,
took effect on November 1, 2007.        Moreover, the defendant does not identify an
amendment that pertains to a defendant’s criminal history and is listed in subsection (c).
Amendment 709 is not included within subsection (c). Accordingly, the court concludes
that a reduction under 18 U.S.C. § 3582(c)(2) and USSG §1B1.10 is not warranted. The
defendant’s motion to reduce sentence under 18 U.S.C. § 3582(c)(2) is denied.1
      IT IS SO ORDERED.
      DATED this 14th day of July, 2009.




      1
        The court notes that a motion for downward departure is untimely, especially
considering that judgment entered against the defendant on April 22, 2008.

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